 

 

U.S. DISTRICT COURT
EASTERN DISTRICT-WI
COMPLAINT
(for filers who are prisoners without lawyers) | 2821 AUG 30 AM 8:52
CLERA OF COURT

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN

 

(Full name of plaintiff(s)) JURY TRIAL DEMAN DED

Motthew James HARRIES | Plain FF

 

 

Vv. Case Number:
2y-6-1014

(to be supplied by Clerk of Court)

(Full name of defendant(s))

Brion FOSTER, Warden

 

 

MELT , Security Director

 

WIERENGA, Depuly Warden co. . deg
Sued Bown zndividseVand ete Capac 4

 

 

 

A. PARTIES
1. Plaintiff is a citizen of _ &G)iS CONS in , and is located at
~; ae, « ay ; (State)
Phone aud B8e-3aly A) goo

2@OI9 Wisconsin Street Sturtevant, Wr. 53177

(Address of prison or jail)
(If more than one plaintiff is filing, use another piece of paper.)

2. Defendant Brion FOSTER ; Garden
. oe (Name)
is (if a person or private corporation) a citizenof __ _ WISCONsin

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en information and. belts ALL PARTIES ose CITIZEN(S ) of (MSCONSIN
3.) Defeindewnt+ MELL, Security Director och WwDoc
4.) Defendont GLERENGA ) Deputy orden WL GDoc

“S.) Defendant TORRLA M. VAN BUREN, Dr. wex woec

6 ‘) Defendant BONIS ) Socal Services Director GOCcK oopoc

 

7.) Defendbnt STARK , Social wdor\er Cock conoe.
BD vefindant KRISTINA N.DEBLANC, Dr. OCH aopoc
- 9.) Defend ont DEVONA M. GRUBER, Dr. WCE Wpdor.
 $0))nefundant GAYLE E.GRIFELTH, De, Wee wspec
LL.) pefendant YANA PUSICH, corrections Pragram Supervisor WCE Gipec
12) petendent THEANDER. ) coxphein woes WD
/ 3.) Defendont KYLE Kn RITT, caphin woes OSDOC.

LH.) Defendant KEITH M, EMMERFALL, Lieutenant Wock WwDoc.

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15.) Defendant SANCHEZ. , Licukenant wor WDC

4G.) pefendant JOSEPH D. BEAHM Sergeant Wer Wha
£7.) defendant MONGEY, Sergent er capoc

18.) eferdant cuesTOPHES 7 Pass, sengeon Git wopoc

419 .) pesendont SMITH p corrections OF Ficer. COCL WDPOC

 

20.) pefendent STANLEY N, RIDLEY, corrections Officer GCL WDOC.
at) pefendant MARTINE Z, Corrections Officer coct QDpOC

22.) defendant VOLLMER , Corrections Officer ICE Gpoc.

230) Defendant MECAWLEY, corrections Officer Wer WROG

at.) Defendant WAYTE , corrections Officer WCE Dec.
AS.) Defendant O-NELL, correchons Officer We WDC.
2b.) Defendant FISHE , corrections of cer Wer apoc

27.) Defendants) JOHN /TANE, DOE, ShFF Wer OsPOC

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RB.) Defendant CHRYS TAL MARCHANT - MELT, Health

Services Unit Manager wer WIDOC

29.) Defendant DONNA LARSON, RUN. Nurse Coordinator 4

30.) pefeadont JEFFREY MANLOVE, Dr. Wer WDE
31) Deerdant NATHAN TAPIO, Advanced Prochcioner
NMurse Prachicener Wer wpDoc

32.) Defendant CORENE GIEBEL, Records Supervisor Wick wDIC

33.) Defendant FARHAT A. KHAN , M.D. GQoupun Memorial Hospital,

Agnes ian Healthcore..

34.) Defendank MICHELLE SCHULZ ) RN. GJeupun Memoria Hospital, -
Agnesion -Heodth coure.

35,) Defendant WAUPUN MEMORIAL HOSPITAL,
GAO C3. Brown Sk, )Woaugun, Wr S3163

. 36.) Defenden+ AGNESIAN HEALTIACARE pon informecton and belles

1a privece Corporodion uncke contrack with LIDOC +o provide medical cane
and Services to inmeses confined with LODOC, indudiag Malthevs Tomes HARRIS

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37.) AbL DEFENDANTS _ coete acting under color of Stete law
and ore being sued in BOT their individual and thar officiel

capacities,

38.) Plain fF Request(s) the Court-re Rekxiin ALL.
‘DEFENDANTS THROUGH DISCOVERY, as these Defendants
cary reasonably be said to hove coused Ploinh’ te be

/ Subjected +o a Niolation of Law and there, IS OW.
reasonable ex pectocti on thot evidence-+te thatefect
oil) be obbained in discovery.

PlainH fe Requests) Met sujervt sory FFicials be.
cehxined as Defendants for purposes pee EY
+o identity cul; patie steff members ,

 

 

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BOAUPUN CORRECTIONAL INSTITUTION (escr(State, if known)
and (if a person) resides at_ AQ@ South Madisen St, WAUPUN, WE 53963
(Address, if known)
and (if the defendant harmed you while doing the defendant’s job)
3097 East eshynghon Ave,
worked for _Gisconsin Deportment of Corrections (noc) Madison, SE S53 764
(Employer’s name and address, if known)

PARTIES
(If you need to list more defendants, use another piece of paper.) Def; continued «ce

B. STATEMENT OF CLAIM

On the space provided on the following pages, tell:
Who violated your rights;

What each defendant did;

When they did it;

Where it happened; and

Why they did it, if you know.

Te ON

 

Ploinhhf was incorceretee! a}
Gen pun Correctinns| Cnsdebuten akail mes
ie: leant te dite Comple, ie te

 

 

 

 

 

 

 

 

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/ .) Plaintifl was prescribed ond administered the psychotropic
medicotion PAROXETINE (PAROXETINE ) by Wisconsin Department
of Corrections (* wopoc” ) Stoff member G).

2.) Piointi ft ingestion of PAROXETINE. induced
SuicrdoA Edeohou / Saf -Hoarm Ldeotion,..

3) on September 7, 2018, Plaintiff approached. the
Woupun Correctional Inshtution (*tocn") North Cell Hall
Sergeants - Cage ond infermed Sergeant Christopher L. Pass
(* Sgt. Pass”) thot PlaintifF is going te cut his wrists, and
IN himsele if he dees not get help immediccdely .

4.) A conflick arose when Sgt Pass (being unconcerned
with PicdnhtEs well- being ) responded loy ‘helling Plaintiff te leave
and divected Plogn hE to rehurn te his cell (unaccompanied by stoff).

 

5.) Pioinhf refused to leave ) demanding to. Se
Psychological Services Unit ( “Psu” ) Steff immed iatoley .

G.) Sgt. Poss threetened, Plaintifl needs to learn to obey StofF,
and ts going +o be tought a lesson. Sgt Pass further Hareadhened
Plaintiff by stating," coe dovt play by the rules here , 4.6 best
you remember thot“,

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7.) PSU StfP esas eventucd ly corrbocted j Sgt. Pass talked with
PSU SteFF memeber Dr. Kristina N. Deblonc-( “PSU peblanc’) who
reviewed PlaintFE, PlainbfF was reviewed (in person) by PSU Deblanc.
for crisis - Contact inside the (C0 North cell Halle Durlag His Hime
PS peblanc demonstroded a hostile attitude toward Plainte

G,) Plainh fF informed. PSU Deblanc he is going, to cut his worlss
open end Kil himself, Plaintiff requested Crisig.- counseling be
provided 4o him , Psd Deblanc denied Plaintiffs request to hove
crisis - counseling provided. PSU Deblanc was made awore of
Plaintiffs PAROXETINE medicodton ) ond she is educated ja the
capaci ty that psychotropic medi ceblon (6) May Cause
adverse-efheck®). PSU Deblanc foiled to initiate w« referral for a
Psy chiatry evaluation appointment fer medicehon refinement,
PSA Deblanc. was oware and knew there was a significant risk of
harm +o Plainb&h. PSU Deblonc fuiled to provide PlanhtF dh
(immediecte) access to Crisis -CounSeling, These (in)ochonrs
demonstrate inodequocte medical care, resulting in (induding but net-
limited te) unreasonable risk of damage te PioinhfFs ficure health,
ond cont buted to Plainkhfs mental anguish.

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9.) At approximotely 10°:30Am on September 7, 2018,
authorized by the Wisconsin Administrative Code Chapter DOC 311.04
PSU Deblanc. plocedl PicintFf on OBSERVATION STATUS as being
dangerous to selfe (“OBSERVATION status”) Is defined by He
Wisconsin Administrodive Code. Deportment of CorrecHions
Chaphy DOC 31\ OBSERVATION sTATUS (“W.A.C Doc 3 n').

This consttutes Plaintiff as having 0 Serious Medical Need (srw),

10.) Plaintiffs confinement in OBSERVATION STATUS was//s
required to be monitored ed (least every) Fifteen - minute
close - wetth intervals by (pec) staff member) , ond
recorded on (including but not limlted to)
DOC - LL.2(A)“osservarion OF INMATE - CONTINUED “ FORM(s)
by the (doc) staff member) responsible for monrtoring ond

recording the Plaintr£. in ORSERVATION STATUS.

ie) Plaintiffs confinement in OBSERVATION STATUS was/is
required +0 include opproprioke documentation of (significant)
incidents invelving the Plainh ff be recorded (by stoSf member)
in volved ) on including but not limited te (1 RTS OAGC) Encident Report),
ond These Encident Report+@) are required to be listed on the
(1RTS@22B) Incident Report Leg by Offendei.

5"

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)2.) PSU Deblanc then spoke with Sgt, Pass ond informed
Sgt Pass that Plointiff is placecl on OBSERVATION STATUS ,
ond will be going to OBSERVATION STATUS Housing in
the Restrichve Housing Uni+ (“RHU”),

Sgt. Pass was AWOAre ond Knew of Pieantiffs SMA,

13.) Soh. Pass called and notified Lieutenant Keith M. Immerfoll
(“Lb Dmmer fall) of the situction with Plaintiff inthe OCT
North Cali Hall. Lhe Emmerfall arrived ot the North Cell Hall
(with additional staff) to escort Plaintiff to the RHU for
OBSERNATION. STATUS Housing o a
Lh. Lmmerfall paiked further with Sgt. Pass inside the
scx North Cell Hall. Sgte Pass, Lt Immerfoll ,
correchons Officer Smith (*C-O. Smith “) Were owate ond

news of the Plaintiffs. SN (er being dangerous te self).

 

i4.) Le. Immerfall stated to Plaintiff,” Hey Harris )
just so you Know, we had stofF place Rozor - Blades iA your
OBSERVATION CELL, make sure you use them Rotors. to

cut yourself up Ike. atuckin tur key “

1S.) Lt. Emmerfall then told c.o. smith , our friends
Cope Tritr ond Sergeant Beahm are handling the detoils..“

bo

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IG.) Plaintiff then looked +o and asked C.0. Smith,
“Are you going to tek them do thot to me 2?“

17.) C.d. Smith then responded by stating te Plaintiff,
“Yeah, like he said, wwe hed stoff place Razor - Biades
in your OBSERVATION CELL.) now all you have te de is
use ther te cut yourself up like ao turkey . “

18.) LA. Emmerfoll and C0. smith additionally implicated
both Caphain Kyle K. Tatit (“copt. TH”), and
Setgeont+ Joseph D. Beahm (“Sg Beahm% ) by stating
their Personal Involvement and assistance when they
rafermed Plofntiff they had stoff ploce Razer - Biodes
in his OBSERVATION CELL, and instructed Plaintiff te

use them Razor- Biades to cut himself up like atur key.

19.) Plaintiff wos esworted +o GCL RHU for

OBSERVATION STATUS Hous NS ‘

20) Piaintiff wos placed and confined within a
WCE RHU OBSERVATION ceLL (“OBS CELL").

(on infermotion ond belief the OBS CELL number i's A-202.)

 

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Ale) Plaintiff was placed and confined within the
OBS CELL noked, except for a” Smock" issued by shFF.

22.) Plaintiff found the inside of his oBs CELL unsanitary
the (contents,) walls and surfaces di rty covered toi'th Feces.
The aoolls were also covered coith d isturbing Cgraftity)
writtings and symbols promoting death and self-harm,
inciti ng occupant / Plainti Fl to despair and to enact self-harm.

a3.) Confined within the OBS CELL PlaintifF located
the Razor- Blades Lk. Kmmerfall and €.0. Smith informed
Plainhft they hod stoF ploce in Plas nti ffs OBSERVATION CELL
for the purpase of Plointitf using the Razor -Biades to

fnflick Serious / significant self-harr PUjULles by

 

 

 

 

cutting himsei£ up. lil€e. a turker “

 

24.) Steffs extreme (mis) conduct caused Plaintiff

to experience severe emotional distress. .

 

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25.) Confined within the oBS CELL Plaintiff used one of
the Razer - Biodes provided by StF te obey L+. Xmmerfoll
ond C.0. Smith direckive(s) 40 inflict serious /s ignifreant
self-harm injuries by using the Razor- Blade te cut himself
up like o turkey °
_ Plaintiff cub approximately three - fourths of hi's EAR(Kight okt,
Plaintiff cut open his ddris4(s) (Right and Ler) y
Pinintiff made eapproximedel y five additional cuts ty his Arm(Left),
Cousing Plaintiff to suffer serious /significant
physical pain finjuries and emotional poin/injury -
A remorVoble amount of blood exited Plaintiffs injuries.

 

 

 

 

Abe ) On September 7, 2018, Plointifls OBSERVATION CELL.
was required fo be inspected by staff for controloand
Sofety sanitation, and sultoability prior te and for
Piaintiff confinement within. Corrections Officer
Stanley N. Ridley (“c.0. Rid ley “), Sgt. Beal , and
Caph. Tritt were assigned to/ working / responsible for
Plaintifls OBSERVATION CELL Conditions prior te and during
Plaintiffs confinement within, inclu ding Plointifes
Health end Personal Sofety ) and the Plaintiffs resulting

in Vj unies due to the Conditions of confinement within.

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27.) On September 7, 2018, C.0s Ridley » Sgt. Beahm ,
ond Caph Tritt were oware ond Knew of Plaintiffs SON

for OBSERVATION STATUS plocement, and failed to inspect
ond Jor properly prepare [maintain Plaintiffs oBsERVATION

CELL for Piointifls cenfinement within.

28.) Piaintift sought the RU A-Range Officers

attention to. show Stef the Piainhi fF
complied cofth LE Dmmerfoll and Coo. Smith directive(s)
to use the Razor -Blade(s) provided to cut himself up
like a turkey “

29.) Piaint fF showed C-O. Ridley dhe Rozor-Biade ond
injuries. The Rozer- Blade was confiscoted and

Pictures Gere toKen. by St££ for evidence «

30.) Plaintiff cas token te Ger RHU Heolth Services
Unit (HSU) for treatment of his serious [Significant
Self-harm in ULTES. Pinoinhffs infurres were too
serious /severe to be treeted by QcEe WSU.

Plontiff was transported to Qloaupun Memoria) Hosprte]
Ceom nH") for Emegency Medical Treedment of

Plain Fes Injuries.

Lo
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Blo) CuO. Ridley filed (IRTSO2DC) Encident Repor+* 00341060
(* CREBH 1060"). In the DESCRIPTION of INCIDENT
CaO. Ridley states, On September 7, 2018 ot epproximeste.
LAtHS PM, Z officer Ridley was conducting my obs check
rounds en upper A Range ashen see mode Mothheus
Harris ® 564394 was standing ot the Windeds eo
WONING his hands ond EZ netced he was bleeding from
the head dewn ond ZX noticed his car was cut in half and
he continued to coave ot me and he showed me vos
ow razor blade ses other shFl orrived on the scene sou
ond escorted him to Hsu fer treedmentves inmate Harni's
was escorted bo Woaupun Memorial Hospital for more.
treakment. the racer blade was removed from inmate
Horris cell efter the incident and con fiscoted ond

, tf v “yf
pictures were token by sto for evidence “

32.) sR* 3410G0 Pictures token by stoff for evidence
include but are net limited te the following °
* Razor - Blade placed on tep of the sink within
Plaintiffs ops cELL
* Plointifis Blood throughout inside of Plointiffs OBS CELL
° Plainh fs physical injuries of his
= EAR (Right)
™ WRIST (5s) (Right & Lef+)
= ARM (Left)

i
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33.) TR* 341060 Identifies Capt. Tritt and
Sgt. Beahm os ~ Staff Involved”

34.) EREZBYUIOGO with Pictures taken by StofF for
evidence (identified /deser) bed jin poregraph(s)* 31, 32,33)
Supports Lb Zmmerfall stohement(s)

(‘dentified /described in pocogeaph(s) #14) 15,17, iB).

35.) ZR* 341060 with Pictures token by Stoff-for
evidence (‘dentified /deseri bed in paragraph(s)* 31,32, 33)
Supports C.0. Smith stotement)

(identified / described in poxragraph(s) #17, ig).

36.) Capr. Tritt Personal Cnvelyvement with LbImmerfall
and C.0, Smith violation) aAgaIN st Plaintffl is

 

supported by foct(s) including but not Limited to those _.
identified /described in poragraph(s) #14 ,15)17,18, 22,23)
25,26, 27,31, 32,33,

37.) Sgt. Beahm Personal EZnvolvement with Lt.tmmerfall
and €.0. Smith violotion(s) against Plaintif€ is supported
by foct(s) includ ing but not limited to those identified /
described in poragraph(s)® 14, 15)17)18, 22, 23,25, 26,27,

3), 32, 33,

yd

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38.) TR* 3YiOG@ DESCRIPTION OF INCIDENT states )
~ aco other Staff arrived on the Scene secs
These OTHER StofF members were di rectly involved ond
required to be listed / identified on LR* 341060.
XZR* 3410C@ foils to identify all stoff involved as required )
concealing the identities of st invelved

34 .) Plaintiff was transported by GWDec war
Steff member Sergeent Mongey ( “sgt. Mongey")
to GOMH for Plainhffs required Emergency Medicol Services
(“EMS*“).

 

40.) At 7H Emergency Room Piaintif€ underwent
surgery performed by Farhot A. Khan, (2D. ("Dre Khan“)
who poorly reattached Plaintiffs EAR (Right).

Michele Schulz, RN. (RIN: Schulz.) was on duty.

41.) On information ond belief WMH i's locoted at ?
GA® od. BROWN Sh, WAUPUN, Wr 53963

42.) Enside the WMH Emergency Room Sgt. Monge performed
EMS on PlainHff by treating PlankKffs Brist6) and Arm injuries s
Sgt. Mongey searched for Medical supplies in the Emergency
Room cupboard /cabinets) ond asked Dr. Khan and ReNe Shulz.
where they Keep Medical Supplies for dJound cave.

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Eventually Sgt. Mongey locoded the Medical supplies

he wanted and began apply ing them te Plaintiff dirist(s)
and Arm (Left) injuries, then he filled these injuries with
Surgical glue oF some Kind.

y 3.) Piainh$f was disturbed by Sgt. Mongey treating.
his physical injuries. Plaintiff verbally protested Sgt. Monger
to stop administering EMSs to Plaintifl, Plaintiff reques tec!
thet ONLY LOMH staff be allowed to provide Plaintiff with
Medical services. Sgt. Mongey forcefully conhinucd to
tread Plaintiffs injuries agat nst Ploantifls obj ection(s)
and ashilé Plaintiff wos shackled to the GoMmid Emergency
Roo bed, Sgt. Mongey stated , “rts alright, xm trained in
this stuff.” Sgt. Mongey further staid + Dre Khan,

“xts alnight doc, Z gob this.”

 

Dre khan then lefb the GOMH Emergency Koam

These ViolationG) to Pioint'fF eoused Plaintiff physical pain/ nung.

and emotional pain / injury ) ond exocerbaked Plaintiff distress.
Soh Mongey wos oware and Knew that he had ne right or
authority +0 administer EMS to Plaintiff inside COMH
While he is employed and on- duty as an GDoc officer.
Plaintiff was violated by Sot. Mongey when Sgt, Mongey odministered
Medical services to Plaintiff inside WMA by treating Plaintiffs drist(s)
and Arm (LEFF) injurieSagainst Plaintiffs cil) and without
Plaintiff consent. Disregarding Plaintiffs verbal objectioné).

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Plaintiffs eorist(s) ond Arm (Left) injuries are still +o this
doy obvious with nebcable scars where Sgt Mongey
recklessly filed Plaintiffs in Unies with some Kind of

Surg co\ glue °

44.) Dre Khan and R.N. Schulz failed to Protect Plainbiff/
Potient from Sgt. Moangey performing ‘Hegal medical
services on Plainttfl while Plaintiff wos a Podient of
GMH end in Dre Khan ond 2.N. Schulz direct care .
Sgt. Mongey ) Dr. Khon and R.N. Schulz Subjected Plaintif
to (including but nok limited! to) inadequote. Medical care.
On information ond belief Dr. Khan and R.Ne Schulz are
contracted to service GI DOC through Agnesian Healtheare.

15.) On September 7, 2018, at approximetely 4¥:00Pm »
Plaintiff was transported From GIMH te dock RHU

by Sot. Mongey-
46.) Capt. Tritt informed Plaintiff he wiil be ploced inf

reconfined to the same OBSERVATION CELL, and
continues to remain on OBSERVATION. STATUS «

15.

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47. ) Plaintiff informed coph. Tritt of the (i'ving) conditions
in thet OBS CELL (identified /described in parograph * 22)
causing Plaintiff emotional distress /n that OBS CELL, and
expressed concern-for his injuries becoming intectec! from the
feces and unsonitory condihionG) of the OBS CELL.
Piaintiff requested Caph. Tritt provide an alternotive cell
in which +o be confined, Plaintiffs request was denice,
PloinkFF requested Caph Tritt hove the OBS CELL thoroughly

cleaned prior te Ploin FF being recontined within ) but

the reques-+ OOS denied AvISO,

Plaintiff was denied / not permitted cleaning supplies 4 to

clean his OBS CELL while in OBSERVATION STATUS.

4 8.) Cayh. THF Was ewore and Knew of the Piaintifls
(living) condition) in Plaintiffs oBs CELL, thot said
Oiving) conditionG) are. Hozardous te Plaintiffs Health ,
antithetical +e Plaintifts digni ty y Humiliating te Plaintiff,
is not conducive te Fiaintiffs mental stecte and is causing
psy chological harm, is oharmful ond terturcus living
enviranment for Plaintiff, and thet these ( ving)
condition(s) deo not serve o legitimote correchonal

purpose.

1G

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iq. ) Cap h. Tritt reconfined Plaintiff to the some
OBS CELL Where Plaintifl inflicked serious / significant

self-harm injuries
(on information and belief the oBs CELL number i's A-202).

50.) PlantT again found the inside of his o6s CELL
unsanitary , the (contents, ) walls and surfaces dirty
covered with feces, the walls were also covered with
disturbing (oraffit 1) writings ond symbols prometing
deoth and self- harm , inciting occupant /Pleintiff to

despair ond enoct self-harm.
PloinTiét was noked 7) ex cept for o Smock ‘issued by sted4£,

 

Bi.) Capt. Tritt aas aware ond Knew of Plaintiffs SIN

_ for OBSERVATION. sTaTUs placement pond fai led te inspect endfor
properly prepare Jinaintain Piaintiffs OBS CELL -for
PlainkFls confinement withi Ne

52.) Picintiffs OBS CELL was required to be inspected by Staff
for contraband ) safety ) Sonttation , and Suctobility prier to
ond for Plaintifls confinement within, Capt Trt woes
assigned te / working / responsible for Plaintiffs oBs CELL.
conditions prior te and during Plaintiffs confinement within, |
includin 19 PiaintifFs Health ond Personal sofely , and the Plaintifts |
resulting injuries due te the conditions of confinement within .

 

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53.) Plaintiff suffered a lock of heot, clothing ,
Sanitestion, sleep, reasonoble Sovety y and medical core
in Pioinhtfs OBS CELL.
Inside the Plaintifs (cncrete/stone and metal constructed)
OBS CELL Plaint FF cous subjected toa constont Pieri ngly
cold temperature ted (caused Plointiff-+te shiver anc! )
depri ved Plaintiff of sleep. The penetrating ly Cold surfaces
of Plaintiffs OBS CELL coused Plainhff intense dull aching
prin/injury whith also deprived Plaintiff of sleep.
The light in Plointiffs OBS CELL wos alesoys on ; disrupting
Plaintiffs sleep. The unsenitory (living) cond:tionG) of
Plantffs oS CELL (icetified /deseribed i in portegroph #50)
created on unnecessary risk of infection to Plaintitts
injuries » and an unreasonable risk ef harm to Plaintifts
— Wealth ond Sofety . a .
This Terturous, cold OBS CELL Kept Plasnti fh deprived of
sleep te the point of Mental and Physical exhoustion
exacerbating Plaintiffs severe emotional clistress.
Piointifls Forced exposure to this torturous OBS CELL
lasted for a duration of approximately five - dasys
(09-@7-2018 through 09-12-2018).
Plaintiff wos noked, excep for a shdf issued “Smock, The ShFF
issued “sMock" Plaintiff wore was inadequate. Jinsut ict ent to
ond did nok provide Plaintiffaith akernative means of Protection
from the oferementioned cold, unsani tory conditionG)
1g

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unnecessary TisK 6 JnFection +o in juries , unreasonoabie
risk of horm. to Piainhffs Health and Sekety ) pain )
and Sleep deprivotion.

54.) This creoted a mudueally unfercing effect shi ch
(also) produced the deprivotion oe Piesihiffs identified -
Wuman need (s) of wormth , ‘Skep, Sanitetion,

 

Reasonable Sobety > Medical core .

Causing Plaintiff physical pain fin yury and emotional
pan ji in yury- Exacerbotin 19 Plaintiffs severe emotions |
distress.

 

55.) on September 10, AGL, at approximectely 6:45 Am,
PSU Deblenc appeared cell-front to Plaintiffs o@s CELL and
tous required to perform a~ Mental Sodus Evaluation “
required by GA.C DOC 311, Rr DOC 3SiN.o5 ,

“Exominodhion of Mentos Health placement s

(1) "ae The examination shal fndude a direct persona evoluation
and ao review of recent relevant information.”

Recent relevant informacion required for PSU Deblanc to
review includes bud- is net limited to Doc- 11 2Q(A)
“OBSERVATION oF INMATE - CONTINUED” Form(s) (identified /deseribed
in paragraph * 10), PSU Deblanc Failed to review ond for
appropriately respond to Pleinhffs DOC-112(A) informodtion.

Plaintiff jnformed PSU Deblanc of Lt. xmmerfall, GO. Smith,

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Caph. Tritt and Soh Beahm Personal Invelvernent with
placing Rozer~ Blades fn Plointiffs OBS CELL Ser PlainhfF te inflict
Self-harm Injury » Ploink fF requested prehackon from Steff,
Plainhifl informed Psu peblanc of the Plaintiffs combinued//current
(living) Condition) (dented descr) bel sin paragraph(s)* 50, 53).

PSU Deblanc wos awerec’, Knew of, and responsible for Plointt PFs

cermbinued /carrent sttucdion (i denbMed /described in parooytaph * 48 ),

PSU Deblane was auere oF end Kress Piaintlh continued /eurrend- situation

and (livieg ) condiHan(s) demonstrede unquesHoned! and serious ckprivedton@)
of Plaintifhe boste human need (5) for coarmdth, shee y sanitation )
reasonable Sosety pond medica) care,

PSU Deblanc had authority over and responsibility 4o (i emedy )

Plainhfts situchon and ( living ) Cond -Her(S) pe WAL Doc Bil.

Ploinh ff? requestec! PSU Deblanc remecly [correct Pioioh es continued i/
current (tiving) condi Hten(s) (: idembiledd /descr| bedl in porograph(s) #5053),
PSU Deblance forled +o remedy Jcorrect Plairtks continued i]. currend-

(liv Ing) condition(s) (identified described in paragraph(s) AB 0,53).
Plaintiff requested and was dented a (seeurtty) Bien ket by Psu Deblane.
PlainihP again requested and cas denied Crisis - Counseling by Psu Deblanc.
PSU Deblanc showed / acted wit, Delitberce Indifference to Pinta fhe
contnued / current Situchion and () ving) condidy a(S) (ident Ped / descrthed
In paragraph ($)* 50,53 48,55 ) by failing te provide Plaintr PP with
the minimal civilized measure of )ifes necessitles ,

Psu Deblanc (in)ackionG) exacebaded Aaintt hE severe emebonal destress,

ond coused Plosn Pf urinecessary physical pain hyn yen and emotional pala/ in yury

Jo

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PSU Deblane was subjectively aware of the Significont IiKeii hood thet
PlainHEP may imminently harm himself, including bub net limtted te
PlainkPF further/addiHonalig ripping [deteching his ENR (Right) from his heed,
yer she failed totale reasonable steas to prevent the plain HEL fro
peoforming the ag

SG) Psu Deblanc was aware of and knew Plalnt hf suffers From
self-destructive tendencies and foaled to prepen\y intervene «

PSU Deblanc was aware and Knew Plainhffs oBs CELL confinemert
alone by itself was oan inadequate means of reosonable sofety to
prevent Plalnd PP infllehing addittea) self-harm > ineludiag but not
limtted to his EAR (Right).

SS 7) Psu Deblanc Foy led te provide Plainhbf reasonable safohy Phrough
alternative means of restrent, allowing Plaln-heP te inFltede further /
additional self-harm in yuntes including beet nob limited to his EA (Right).

JS 8.) PSU Deblanc cas required tp report Plant ffs sttuctron and
(living) anditionG) (dented / described in paragraph (s)* 50,53,85 ),
Complaints) ond requestG) to CoCr PSU Staff member

Dr. Torrian M. Van Buren (“PSU Van Buren”).
54 .) PSU Von Buren hod outhority over and respons! bility to Plotntrffs

situcction oad (living) conditionG) per G1.A.C. DOC SN,

oul
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GO.) PSU Von Buren was aware , Knets of ond failed te provide
reasonable sobboy and remedy / correct Plaintr&e’s situestion /
( i ving ) condi trong) ( identified /descetoecl in peragraphG yt S- $, 56,57, 5 @)

G1.) At approximately F215 Am on September 18, 2018 ,
C.0. Smith appeareel cell-Front +o Plainhffs ops CELL to intimidede
Plainhiff after Plointiff identified to PSU Deblone CiO. Smith
Personal Invelwement with plocing Rozer-Blodes in Plointiffs
OBS CELL for Plaintiff to infllck self-harm in ure « .

G2.) The circumstances of ( including but net limideed +o)
StoFE (misjeonduct against Plaintiff, Plainhifls suction end
(hiving ) conditenG), combined with ¢.0. Srath intimidetion of Plosntlt
and Plain ffs severe emottonal distress, coused. Plaintiff to inflict
additonal sericas [significant self-harm inary by violently
ripping / putting / teosing EAR (Right) from head causing Plainhff
Physical pon / injury and emotional palin / injury + This additional
damage te Plaintiffs EAR (Right) coused Significant detachment
of EAr(Kight) from Plaintiffs head

G3.) At approximectely 9°45 Am , On September 1G, 2018,

Plaintiff eas escorted to RHU HSU for medical otention. stuff
refused to have Plaintiffs EAR(Right) reattached, instead alowed f+

te remain detached from Plaintiffs head , creating unreasonable risk of inkechon,
unreos onoble ris oF hari to Plaintiffs Health oad Selby demonstrating inadoguste: Medicals

AR

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(oH .) Corrections Officer Martinez.("¢.0. Martinez. *) and
Coph. Trith were required ond failed +o complete/File appropriate
deeumentection (Dheluding Bud Net Limited To (“IBN LT” D) a&
(\RTS@2ac) Encident Report for this incident ef significant
SelF- harm injary invelving Plaintiff, Which also is required and
Farle to appear on (iRTSO22 B)rncident Report Leg by offender,
Conceal ing StF (mis) conduct.

GS.) At approximately 10:30Am on September 12, 20/8,

Plainh? cos placed / reconfined ty the same OBs CELL

(on informodion and. belief is number A-202 ).

Plointifes (living) condition) conbnued os identified / described in
paragraph(s) * 50,53. Plaintiffs o@s CELL ans required to be

inspected by stoFh for convolvond Sofety , sonitochon , and

Suitability prior to and for Plaintiffs confinement wrthin.

C.0, Martinez. and caph Teltt were assigned te /working / responsible

for Plaintiff o@s CELL. conditions prict to and during Plaintés
continement colthin including Plaintt€£s Health ond Rersenal Safety )
and the Plaintiffs resulting injurles due te the condiHoas of
confinement within. C.0., MarHnez ond Caph TAH were
aWert and knew of Planks SMN for oBstevaTiIoN status
pincementy, and failed te inspec and for properly prepere/
maintein Plaintiffs os CELL for Plainh&fs confinemont

within ®

Al3

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66.) Shortly after psu Deblanc contoet with Plaintif£E en
September 10, 2018, PSU Deblane. coos informed by security Shabf-thet
Plaintif€s (Ere) wound hed reopened oboutfive - centimeters,
PSU Deblonc (again) cas sub yectively aware of the signiflcant
hi keliheod the PlaintFf may (a90\n) mm nenHy haem himself
TBNLT PlainhFh further / additiona Ny detoching [ripping [pulling
his EAR(Right), yek ogain she foiled to take resonable steps ts
prevent the Ploin€? from perlorraing the acct. PSU Deblane was
wore and Knew Plant sutfers frorn Self destructive tendencies
and failed te properly intervene. PSU Delblanc was ousare one Knew
Plainh?s oBS CELL conPinement alone by rhselF wos an tnodequate
means of reasonable soctety to prevent PloinhFF inflicting additional
self-homm injuries; I BNET his ZAR(Richt).
PSU Deblanc. Failed +o provide Pilnt fl reasonable sobety through
alternative means of restraint, allowing Plainhf to inflict further /
addiHonel self-harm injuries EBNLT his EAR (Right).

G7.) The circumstances of TBNLT Shoff (mis) enductogalasd Plainhfh,
PlainkfPs sluchon and (living) cond? HonG), combined with PiaindiFes
severe emotional distress, caused PlainhFf to inflict addition al Senous
Self-harm in jury by violently ripping / pulling | tearing his
EAR(Right) From head ) causing Plaintil physical painJinjury and
emokiona| Poin / in yury » Additional damage to Piainh ffs BAR(Right)
resultsel leaving EMR (Right) further detached From Plodntf& head.

af

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G8.) At approximately 4E4dS Pm on September 10, 2018, _
Plaintiff cons escorted to RAW Hsu for medical attention.
StF (again) refused to hove Plaintiffs Ez (Right) reotoched.
Trsteed, sof (again) ollewed Plaintif& EAR (Right) 4o femasn
detuched from his head } creating an unnecessary riske of
infection and harm te Plaintf& Health and Safety ; demonstroting
inadeguote medical care.

Corrections OFF cer Vollmer (* C.0. Vollmer “) ond.

Captain Theander (* capt. Theander “) were required.

ond foiled to complete /file apprepriote documentation
-E@NLUT « (ers @aoc) Encident Report for this. Significant
tncidert of - self-harm Injury involving PlointifP, which is also
required and fails 4o appear on (1RTSO22B) Encident Report Leg
by Offender, concesting stoFF (misconduct.

G9.) At approximocely 5200 Pm on September 10,2018, 2 /

— Plaintifl coos. ploced / recontined tothe same OBS CELL.
(on informotion ond belief is number A-202 ).

Plaintiffs (living) Condition(s) continued as jdertified /elescribed a

an poragraph(s)# S0,53.. Plaintiffs OBS CELL wos required to be
inspected by StofF for contraband, sofehy, Sanitation, and
sui Fodbi lity prior to ond for Plaintiffs confinement within.
C.0. Vollmer and Caph. Theander were assigned ty /working /
responsible for Plaintiffs CBS CELL conditions prior to and _
dari Ng Plainh€fs confinement within ) inehuding Plaintifls Health.

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and Personal Sotety ) and the Piaintffs resulting injuries .
due to the conditions of confinement within, €.0.Vellmer end
Capt. Theander were aware and Kneie of Plaintt es smn for
OBSERVATION STATUS placement) and folled to inspect and for
properly prepare / maintain Plointifts OBS CELL for Plaintifes

confinement wthin,

"JO«) The “on- coal)” psu ctinician was informed Prod Plaintifl —
inflicked additional self-harm injury +o his EAR (Right).

The “on-call” PSU Clinician wos sub ject vely aware of the

_ signtPicart likeli heed tha PlainhRP roy (again) imminently
horm himseif LBNLT Ploinhf further fodditionally detoching/
ripping f pulling his EAR(Right) » yet failed to-take reasonabje steps
to prevent the PloinhFf from perform ing the oct,

The “on-call” psu clinician was aware and Knew Plaintiff

_ suffers frem self-destructive tendencies and failed te. properly a

mtbervene. “on-call” PSU Clinician. wos oware and Knee.

Plaintiffs oBs CELL confinement alone by rhself wos on macegiate.
means of reasonable sofety to prevent Plaintiff inflicting
caddiHona) self-harm, EBNLT his EAR (Right).

Tis.) “on-can” PSU Clinician foiled +o provide Plointtf reasonable.
- sofety Hhrough. oltemetive means oF restroant, allosstag PlalnHFt to.
—oainkljck Farther/ additonal sef-horm injarkes XIBNLT.
AG

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72.) At appreximostely Gi @O Pm on September 10, 2018 ,

the circumstances of TBNLT Ste&F (mis Jeonduct ngainst Plointif€ 4
Planks situchon ond (liv ing ) Cond iHon® combined usrth
Plaines severe emoHonal distress, couscd Plainti€fl te remove
the dressing on his doeund / EAR (Right) injury and make
_Shodements (to Sto&E) thet he will rip his Ear off.

Securi fy Shel Caph Theander twas required and failed te

Contact “on-call” Psu Clinician te PROMPTLY report thrs

(threat to conHinue self-harm ) incident
Plomb— was escorted to RAU MSU for Medical oMention «

_ Agein Steff refused te howe Plaintiffs EAR (Right) reeHachedl.
Instead, again allowed tte remain detached from Plaintifes
heod , creecting on unnecessary risk of infection, an unreosonabie
risk of heim to Ploindidbs Health and Safety ; demon strocircy
inodequacte meclical core,

_ €eOe Vollmer and. Coph,. Theander were (agen) required. and
_ Fosled to complete /Fil @ oppropriote decumentetion ZBNLT a.

(lIers@awc) Encident Report for this signiteant incident Ok
Threaks to continue self-harm and (Gorm of) self-harm by removing

E€AR/wound dress! ing) | involving Plaint ff, which is also required
and fails 4o appear on (RTSO22 B) Incident Report Leg by
offender, concealing staf (mis) conduct

AT
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73.) At approximately G°15 Fm on Sephember. 10, 2@/18 ,
Plaintiff woos placed / recon¥ined to -+he same OBS CELL
(on information and. belief is number A-QG2).

PlainhFFs (living) condition(s) conHnued as identsPied /eloser bed
in porograph(s) )*50,53, PlainhfG ops CELL was required
to be. inspected! by Sted foe combraband 5 ofehy sanitation, and.

Suitability prior te and for Plaines confinement within.

—€.0. Vo\lmer_and Cop Theander were assigned to/ working /. OC

responsible for Plaintiffs OBS CELL conditions prior to and
during Plainks confinemart within, including Plaintifls
Health and Personal Sokety 7 ond the Plaintiffs resulting
injuries due to the condition) of confinement within,

2.0. Vollmer ond Capt. Theander were aware and Knew of —
Plainhffs SPIN for OBSERVATION sTaTUS placement ancl
Failed +o inspect one! /or properly prepare J maintain
Plainhfhs ofs cELL for Plaintiffs anfinement within.

74.) C.0. Vollmer and Jor Capt. Theander were required and

Foiled +o contact PSU Prompty y ond were subject’ veley anoore
of She Significant hi Weltheod Hod Ploint Pf may. imminently
harm himself (again) )» LBNLT Piainhhl further /add) Monally
detaching / ripping / pulling his EAR (Right) > vet (they) foiled
+0 Ke reasonable Steps to preverrt the Plain? From
pecferming Phe oct, ¢.0. Vollmer and Caph Theander.

Ge Otoore and Knew Plaintiff suffers from

AS

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éell-destructve tendencies and foiled to properly
intervene. C.O. Vollmer and Capt, Theonder were aware
and Knew). Plointiffs OBS CELL confinement alone bby co.
thselF cases an inadequate meons of reasonable sobety te
prevent Plain HF inflich ng additonal self-harm injuries ,
IBALT his EAR(Right).
c.8, Vollmer and. for Copt, Theonder foilecl- to o providle
Picinhd? reasonable sedety Yhrough alternative means
of restroi nt, allowing Plainh&— te infitet further /
additions) self-harm injuries XBNLT his ZAR(Kight).

7S ) The cireumstances oF BNET steff (mis) conduct ogainsd

Plainbitt ) Ploinliff situation and ( itving ) condition(s) » combined est

Ploinhl& severe. emetlonal distress ) caused Hesibt&l to inflict

additional sertous self harm apr by violenHy ripping / polling J
Reastng his Ear(K ight) From head, 1 rg Plainhé= Physical pain J _

injury, cond emotional. pon fin yury Additional damage: to. PlaintkLs
EAR (Right) resulted leowting EAR(Rlght) further detached from
Plaintifhs hed. — _

76.) On September NM, 2018, oF opproximotely 7500Am j

. Plainbf? informed / Showsed Soh Beohm Plain Hf inflicted adoliHena)
Self -hocra injury to his EAR(Right) . Plaintiff did not fecieve
Medical atentHon ust) approximostely 1a 21S Am, PlainhfF ans.

\eF+ unattended in his unsonitary OBS CELL with an open wound f-

aq

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/sel&-horm injury te his EAR(Right ) for opproximadely 3 heurs
ond 1S-minutes otter Sot Beahm become aware and Knas thet
Plainti€l inflicted a new self-harm inary to his EAR (tight)
ond Plains new self-harm EAR(Right) anyary required
medical atention . Sgt. Beahm cas subjectively Aware of
the significant )iKel theed thot Plaindvl may irominerdtly harm _
himselF (agein), TENLT Plaintiff further /additonally
_ detaching, / tipping [pulling his EAR (Right), yet he foiled.
do -+oke reasonable steps to prevent the Platnhtl from
performin Gj the act Sgt. Beahm Gas awere and Knee
Plainhf® sufbers from self-destructive tendencies and failed
te properly intervene. Sot Beahm was ounre and Knew
Plainhffs o@s cELL confinement alone by itself was an
inadequate means of reasonable. Safety te prevent
PlasnhFf inFl iching additional self-harm Injures >
_EBNLT his BAR (Right). Soh Beohm failed +o provide

— Plain b&b reasonodble sofety through olbernoctive Means |

of resimint, allecsing Plaintiff te inflict further /additional
self-harm injuries, BNET his EAR (Right).

Sgt Beohm wos required and failed +o complete /File
appropricdke decumenttien IBALT a (IRTS@ AGC) Incident
Report for this Signi ficant Dnefdent of self-harm
injery invelving Plaintiff, which is also required and fails.
to appear on (i RTS@Q2B) Incident Report Log by Offender,

 

conceéa|} ng StoFF (mis )conduct,

30

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77.) At oppreximately 9222Am on Sepkember I, 2218 ,
neu putt menber Dr. Devona M. Gruber (~* PSU Gruber ~’)
Was informed of * Plaintiff has continued +o inf let serivus
Self-harm injuntes to his EAR (Eight). Psu Gruber then
appeared cell- front +o Plaindif& oss CELL and was require d
te perform o™~ mental shdus Evalucton ” required by WAC Doc Sil.
Per DOC BNO ,exemination of Mental Health Placement’,
(i eee The examination shall include oa direct personal oe
evaluahion ond o review of recent relevant Jaformaton®
Recent relevant informection required for PSU Gruber to review
LENLT Doc-a @) "OBSERVATION OF INMATE - CONTINUED“ FoRM6)
(identi fied /deseribed IN pocagraph 21).
PSU Gruber failed to review and/or appropriocely respone to
Plaintiffs Doc-Ua(A) information identi fiqing {veri fying
LBNLT Ploimbifts sleep depri WOHon «
— Plointifl informed Psu Gruber of the Plaintiffs conti nucelfeurrent
_ Situotion ond (living) condi-henG) identified / described in
paragraph(s)# £0, 53, 98.
PSU Gruber wos acore of ond Knew Plaintiffs conhinued /eucrent
Situocion and (living) ConditionG) demons tree un quesHoried and.
serious deprivecdior(S) of PlainttPfs bosic human need) for wacmth
Sleep, Sonitetion, reasonable sefety » and medical care .
Psu Gruber had authority over and respons: ‘bility fo (remacly)
Plaintills situation and (living) condiPionG) per AC Doc 3},
Piainhee requested PS Gruber remedy / correc Plains continued 7]

3]

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/eurrent (livi ng) conditior(s) (identified described in parogcaph(s) #
50,53. P5U Gruber fetled to remedy Joorcect Pisin HFFs continued /
cunrond (Iivinc condition(s ) idembified /describedl in poragreph(s) #S0, 53.
PlainhtP requested and was denied a (security) Blanket by Pstt Gruber,
Ploswh lp requested and was denied exis is counseling by PS Graber,
Su Gruber shored /oeted cotth Deliberate Endittercace to Mlaintiffs
centinued / current situection, ond. (iiving) Condi hong identified /
described in paragraph(s) 50,534 8,77) by failing to provide
plainer with the minimal evi lized measure of lifes necessities’.
PSU Gruber (in)oction@) exacerbated Plains severe emottone|
distress, and coused Plainthp Unnecessary phigsi cel peinfinjury
end emotional pun Jin yur
Plain Fe requested FSi Gruber to get-him medical care fr hts

EMR (Right) j bust she did not acquire medical care for Pleladidy *
PSU Deblanc wes subject vely aware ofthe significant likeli hood

Hak Plain may iraminently harm himself fogein ) ZBNLT
- Plein PP farther /addittonally ripping /de-toching his EAR(kight) From

his head, yet she filled bo take reasonable steps te preventthe Piainhft |
from pertorming the oct.

78.) Psu Gruber duns ove of and Knao Plaintiff suffers from
sci€-destruct ve tendencies and failed +o properly intervene «
P5u Gruber wos ocero ond Knay Plant's os CELL confinement
alone lay ityelf Was an inadequate meons of reosonabie seboty to
Preven Plalntiff 3 nflicting. odditiona| self-harm 1, EBNLT his EAR (eight).

 

3A

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79.) Psu Gruber faled to provide PlatnHFl reasonable seckehy
through olbernedive means. of restraint, al loesing Pleindt &E to inflick
further /addiione| selF-harm injuries EBNLT his EAR (Right).

gO. ) PSU Gruber bias required to report Plaindiffs stustion and.
(ving) condihion(s)(identFled / described iin paragraph(s)* 58,53, 72,
complainlg) ond request(s) to lock Psu Van Buren

Bi.) PSU Van Buren hod authority OVEL end responsi? [Ny te
Plaintiffs sthuchon end (living) condihor(s) per 0.8. Doc Sil.

82.) PSU Van Buren wos acon , Knee of, and felled to.
provide feasonable seckehy end. remedy. / correct Plaindffs. a
Situection / (living) condiHon(s) (ideatiPted/deseri bed in Poros reph(s )

77, 78,79, B®).

83.) the circumstances of EenLy) Sioff (mis) eonduct against Ce

PlainHFF, and PlalntiFEs (living) Condihen(s) combined eth
Plant Shs severe emuttonal distress , caused PiaintiFF to.
infltek additonal sertous self-harm in yur by violently
ripplag / pulling [tearing EAR (ight) From head 7 Causing
Ploinh fl physical paln / injury and emettonal pain / inury. .
. Additonal damage to Plaintiffs EaR(Right) resulta leaving ce
EAR (i ight) Significantly further detoched from Plainhf€s head,

33

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BH.) Ab approximedely 10118 Am on September I], 2018,
Plolndi€. received medreal attention from RAU nurse for
his additional serlous self-harm injuries.
C.0. MacHnez, Sgt, Beahm , ond Capt, Tritt were required
and foiled +4. complete /4ile approprlacte, decumenteHon LBNLT aw
(RTS@Q0C) Incident Report for thes Signiticant Encideat of
Self-herm injury invelveng Plante, which is also required ana

foals +o appear on (iets @228) Incident Report Loc by OFfendér, OC

Conceal) line) SSL (mis) conducd.

BS.) At opproximedely 11t@@ Am on September Il, 2018,
PSU Gruber ums contacted by the RHU Sergeant and. informe!
Hed Plain inflicted additional serous self-herm in yury as
aw Significant porhon of his EAR (Right) was detoched from hry
head ) He was sent to on oubside Hospital for Medical core.

86. ). Plaintl wes nok transported te LOM fur his required a
EMSs until appro ximodely 2:0@ Pron September I), 2010,
Inside WH Emergenay Room Dr. Khan refuse to treet
PlainhFFs BAR(Right) in jury for whit he daims was a
risk o& infection.

87.) Ploint Ft was tronsported bock +o Wer RWU.
Plaintiffs EAR (Right) remesned detched [scporoted from his head,
SH il regul ring EMs..

54

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BE.) Piaint£l coas then transported to University oF iisconsin-
Modison (“Uam") Medical complex , U6 Health (Emergency
Deportment)* COB - 262-2396, (on infermation and belick
Lecoded ot 2 G@M HIGHLAND AVE, MADISON, C2 $3792).

SF .) Ploinh ff csas transported +0 Ol3M Medical complex
for Plainh ffs required EMS.

Plamdlf underwent surgery. to reattach his neigh!)
ond was provided NorcoWc Pain - - Management for his

extreme Poain,.

 

 

qo.) PlainKfFE cas transported bork +o Were RHUL offer |
Ss unger on the. evening of September NM 7» 2@18,

91.) on the evening of September ||, AO1G, Wor wer
StS memberG). Placed /reconfined Plaintiff to the same
OBS CELL where Plainttfl inflicted serious [signiPeant

Self-harm Injures ,

(on information and belief the OBS CELL number | is 4-202).

PlaindtFes (ligzing) ) condi Hon(s) continued as identiffed [described -

in poragraph(s) # 50,53. PlainhFhs O@S CELL. cas required te
be i aspected by Steff for contraband sokishy ) Sanitation, and
surbabi lity prier to and for Plants confinement within,

Security StoFF, On- call Psu ehnician , PSU Van Buren,

 

Soctal ElerKer STARK (“S.dd. STARK"), Social Services Directo

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Bonis (* ssp, Bonis “), Correchons Program Supervisor
Yoana Pusich (“crs Pusich” ) ) Health Services Unit Monoager
Chrystal Marchant - Meli (SHSUM Marchont- Meili"),
Nurse Ceordinater I Donna Larson RN (“ RN NC Lanson ,
Medical Doctor X% eFferey Manlove (* Menleve mp“) )

— Advonced Procttctoner Nurse Practioner Nethan Tapio...
(AP NP Tapio") ) Security Director Meli (“s.D. Mei"),
Deputy Worden CNerenge (p.w. Wierengar”),

Worden Brian Foster (“warden Foster”) were aware
cond Knew of PlainhFhs SMN for OBSERVATION STATUS placement:
WCre assigned te / worklay / responsi bhe for Ploin tbs sihuccdion
and (\ Iving ) condiHonG) during Plaintiffs OBS CELL confinement,

including Plain Er Health and Safely) ond the PlaintiFts.
resulting inj ures due to the conditions of confinement cHthin. —.
They were updated / notifted / aware / Knew of Plaintiffs
Stason ond Qiving ) conditon(s) EBNLT mnflich ng
on-going self-harm injuntes to_his EAR (Right), had
author! ty aver and responsibility to Piaintifts sthuation anc

(living) conditton(s) Per Gk A.C. Doc 3¥1y vere subjectively |

acore of the Significant likelihood thet Pleintifl ray

wmarrinenthy harm himself again ZBNLT inflicting on-going

Serious Self-harm injuries +0 his EAR (Right) » yet failed to.

toke reasonable steps to prevent Platinhff from performing -

the act, they were oware and Knew Plainthtf suffers From

Self -destruchve +endencres and failed + propery Intervene,

3

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They WEG AWEALTe ond Vnew Shak Plainhf€Fs oBsS CELL
confinement alone by itself was an inodequacte Means
of reosonable safehy to prevent Plain ff inflicting
additonal self-harm, EBNLT his Eag (Right).

They Leiled +e provide reasonable sobehy through alternod)ve.

Means of restraint allowing, Plainhlf te jnfite on-going. .

Saf-harm injuries IBNLT his EAR (Right).

They, Soiled +o. inspect and Jor properly prepare / molinddn |

Ploinhfls oB@s CELL for Plains confinement within...

 

V2.) On September 12, 20/8, atappreximately 8155 Am ,

PSU StofE member De. Goyle E. Griffith Crs Griffith’)
appeased cell-front to Piainktlfs ops CELL and was required

to perform o” Mental Stotus Evel uoction. required. by WACDICS\N.
Fer Doc Bile, Exominedion of Mental Health Plocement*

_(i)* a. The exominahon shall include a direct personal evaluation
ZN

a , , 4 . &4
and ayevieu of recent relevent information 4
Recent relevent’ informotion required for Psuu Griffith te revieus

IBNLT, Doc-11Q (A) "OBSERVATION OF INMATE - CONTINUED “Form(s).

idenhtied / described jin poragraph * 10. PSU Griffith failed te
review Plainttls Doc-na(A) informebon as record(s)
Doc-}1A(A) for @9-1A-2018 “does not exist”,
Demonstrating Veliberate Indifference to Plainhff: Health
ond Persona) Satety » Plainbff informed Psu Griffith of.
Sto (mis) conduct against PlainhFF, ond requested Protection

ST

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From stofP. Plainhfl fnformed Psu Griffith of the Plainhffr
continued. / current ( Ni ving) condiHon(s) identiPied /deseri bee iin
poragraph(s) * 50,53. PSU Grif wos aware of dnd Knew
PlainhfRs continued /current situation and (living) condiHon®)
demonstrate unquestioned and. serious deprivetion(s) of
Plaines basic humean need (s) for, oormth , sleep, sonitedion,
reasonable safety ) and medica) core e
Psu Gattith authority ever and. responsibility. to.
Plaanhtfs situcdion and (iwing) condi Hon (5) per dL0.¢ Doc 3\\.

 

Plainh requested Psi Griffith remedy / correct Plaintiffs
continued | current. Situecdion and ( ving) condition(s)(i dentifted/
described in poregyraph(s) #$0,53,92 .) these requests wyene
\ dented by Psu Grbhith.
Plaint€F reques ted bud was denied a (secur) Blanket frem
Psu Gnflith. PSU GA fPith, Was aware ond Knew of Plambtdt. .
continued /current Severe emohonal distress,
Plaint€l requested but coas denied crisis Counseling, Loom.
Psu _ Grflith, Psu Griffith fealed to remed y [correct Plants
situotion and ( ] iving) condition (s) wee cra in
poragraph(s)* SO, $3;9R. a
Psu Gnthith Showed with Deiiberods Kndiffenence +o
Plamh&ls conhnued J current sHuccdion and (i Liv ing) condiHon(s)
yond Plaintiffs SOON fidentifled /deserl bed in paragraph (s)#
S0,53,48 ,92) oy fal ling do provide plain FP tajth the minimal

Ge vilizedd Measure of ieee pnecessitles .

 

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PSU Griffith toas aware ond Knew Plaintiff sutfers From

Sel¥- destructive tendencies and Failed +e properly (AttiNENE«
Psu Griffith wos aware and Knew Plointiffs ORs CELL
continerment alone by iHtselF wes on inedequote means
of reasonable sofety te prevent PloinH FF infl icting
additional en-going serious seif-harm injuries TBNLT

his EAR. (Right) é

43 ) PSU Griffith failed to provide Plain HPF reasonable
sobety through alternocdhive means ef restrodnt, allowing -
PlalntiFP to inflict acdittonal en-geing serious self-harm
Injuries IBNLT his EAR (Right).
PSU Griffith  ¢ in) action(s) exacerbeded Ploinhff s _
severe emohena) distress, and caused Plainddf
inneeeey I pPhysteol pain fi in) “7 end emotional parn /

verge

44. ) Psu Griffith cous «5 required: to report Platndils

continued / current. stuction and (living) condihon(s) identfled/
described in paragroph(s) # S0,$3,498,92, FBNLT
Pliainhifer on “g0im9, | continuous serious self-harm

Injuries , comploint(s) ond request(s) to PSU Von Buren,

 

 

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95.) FSU Van Buren had authority ond responsibil ity te
Plain lls sthusdton and (living) conditronG) per 6:AC. Doe BN.
PSU Van Buren was aware, Knew of and fuled provide
reasonable safety and remedy [correct PlainhFhs situcdion
and (living) condition(s) fdenti fred / deserbecl in parogreph (ss)
ZOneT * 92,93,94,9S. . a

4G.) Experiencing, extreme physteal ond. emottonal distress :

Plaanhf sough+ help From sdeFF.

97.) On September JA, A2GIG) at approximately between
12i@0 Pm - AIMOPM, Sgt. BeahmM cas weoring his
Body Worn Camera (“Bosc”) pond appeared cell-Front
te Plainhfes o@S CELL While Plainht? was yelling tor
help through his O@S CELL door,
__ Sgt. Beam Tld Plaintiff he is sick and tired of him,
and asked ashet PlainHFF wonts.

98 ) Pioinh&E informed Sgt, Beahra thet Ploainthhe
needs help , and Ls going to Fip his EAR off AGAIN
tt he does not get help.

94.) Sgt. Beohm told PiaintHtt to Go ahead and do jt y
Kip your. EAR off , x don+ care... Plaint? has requestecl these
(B00) feoroges/Vidco Recordings/ Audio Recordings be PRESERVED.

Yo
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100.) PlainhFf obeyed Sok. Beahin directive to proceed -
With serious self-harm injury by Violenty pullin J rippiag
his E92 Right) ; COS linc Plointitl Physical porn / injury

end emohenal pain / mnjarg 7 Causing Piatntfls EAR(Right)
to be significant dehicheed from Plaintiffs heod.

I@1.) PlainhFf was escorted by Sot. Beahm + RMU SIA.
— RYU. Sgh Beahm cas required and fatlecd te complete /file

eppropriode decumentsdron, for being ox Steff member
Personal ly Involved in a incident while Wearing o Bac
EBNLT Doc-H2(A), Dec- 2466, ond (IRTS@26C) Encident _
Report for this significant incident of serious selfhorm _
ing uny invelving Plaintiff, which is also required and
Foils to appear on (1RTSORAGB) Encident Report beg by. .
offender, concealing Rt Sgt Beahm Persona) Invelvement
and (mis Joonducd-.

 

1@2.) Plainh FL coos plosed /confined Within a
ocd. RMU Strip - cage to await transport for fequired
Outside. EMS.

 

 

4 |

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103.) éshile PianhFf was confined eorthin the Gocr RAW
Stripe - Come anos Hing) transport, Plaintiff observed
RUU Sok Beohm in ew huddle’ waith and Speakine re) to. other
RMU stfl members (including KHU Capt. Tritt) .

They continucously looked back end forth from Plaindr AF te
Cochother. Plant? cwas Freightened by their leaking et
Plank. At the end of the “huddle Riu Sore Beahm shouted, .

“3 fucking love You guys: sl

Yo -) RYU Sot. Beahm approached Plointiffs ack RHU
str P-coge wohile, leaking ok Plainh PE and smi led, another _
RHU SHEE member said +o RAU Sot. Beahm, > * Dont. worry

Sarge, Hl we Vike f+ never happened COUSE YOU WEL.

never here.”

los) on the evening of Sephumber. 12,20] 8; Plainti¥l
WAS transported to UM. Medteal corp ded /
descr bed in pares roaph* 88 ).

PlaankFl undercsent Surgery to treatoach his EAR (Right):

and C05 provided Marcohe Pain - Meanogement- fer hits

extreme Pain.

4.

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106.) Piainhi ffs OBSERVATION STATUS. contncmat Doc-W2(A) Records
(: derbPred /descr loud ia paragraph » lo ) de nck exist for the
approximede ime perted of 9-1-2018 2100 Pm through 09-13-2018.
92.30 Ams» Concecling SichF identifies of these responsible fer (mis)canduck against
PloinhFF, requested these. Records from ocr. ShofP member Records

Supervisor Cotene. Giebel,

1077.) Records supervisor Corene Giebel nctFted PlodnbtfFVia
official document )) that Picinh ffs opsERvATIoN sTATUS
confinement DOc-)} 12(A) Record(s) for @4-12-2G128 Do Nok Exist,

108. ) oer, StoFF member(s) John / Jane Doe , Sgt, Beal )
Capk. Tritt j ond PSU Gri fFith 5) WERE Qtsore and. Knew of
Plaintiffs SMN for OBSERVATION STATUS plocement;- .
were assigned to / working / responsi ble-for Monitoring and.

Recording Plaintiff on EBNLT Doc-2(A) Recorc\s) during. So

— Plainh&£s OBSERVATION STATUS conGinement in his Eocxr RAUL.
OBS CELL on SBNLT 09-12-2018, Q2re Deliberodely Indifferent
+o. Pioin dF SON by fos ling +o Moniter and Record Ploinhffh
in accordonce with GLA-C Doc 3i\ ) ond PSU Sd? Directives -
40 Observe. PlainhFF at ~clese-Wokh” fA ven-minute inteevels
inotder +. Menitor PloinhFfs sofety.

 

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1049.) Sto££ member(s) Téhn {Tone Dot , were owore and Knees of -
PlainhfR SMA for OBSERVATION STATUS placement, Wore ossigned to /
wor King / responsible for Monitoring and Recording PlainhFf on
LGNLT poc-2(A) Rewrd(s) during Plainhfls OBSERNATION STATUS
continertent for the approximate time-period of @9-Il-2018 200 Pm
through ©9-13-20/8 7:3@Am ahilé inhis Wer RU OBS CELL ,
wert, Delilerately Indifferent to PlainhfF SON by foiling te
Monitor and. Record PlaswhFt in accotdance, with. WAC. DOC Si, —
ond Psu shh DirecHves to Observe PlainhFF et “close-coodch“
fPreen-minute intervols inorder to. Monitor Plainhfts Saket. .

 

 

f0 «) Wer. StF member(s), Mecawley Mahoney, Sonchez
on 09-O§ -2018, Wnyte , O'Neil, on ©F- 09-2018. Marhinez,

Vollmer, Fishe, Tritt on ©9-10-2018, were €ll) aoe ond
Kneis of Plaintiffs SPIN fer OBSERVATION STATUS placement;

were ossigned to / working /respons ible for Monitoring and _
Recording PlainhfP on IGNLT pec.-N2(A) Recordg) during
PlainiFls OBSERVATION STATUS confinement in his Wer RAY

OBS CELL) were Dallbereckely End ferent to Plalahh smn by
Failing 40 Monitor and Record Plain F in accordance with
CALC. DOC Bi, ond PSU Stofl DirecHves to Observe PlointifF
ot “close -wateh” £:Fheen- minute intervals inorder to. Monitor

Plain ffs Sobety e

 

 

 

a

Case 1:21-cv-01011-WCG Filed 08/30/21 Page 48 of 53 Document 1
 

 

- \AA .) These issues of StF (mis) conduct agains Plaindidy

~ wtthia the Shelemend of Chaim creahed Mutkvall if Enforcing
EPfect(s) hich (alse) preducecl the der vections) of Plaladidts
identifled Human need (s) oF Warmth, sleep, Sanitation ,
Reasonable Safety) and Medica] Care, Causing Plalnthe

phy sical pein / mary and emottona pain Jinjurys

— Claims for Relief
A, Fosluce Yo Provecte

 

1.) The fedlure of Defendants ALL 40 act on his/her

Knowledge of a substonbol risk of serious hanm 4 Piainhht-
Violates his Eighth Amendment right4o be free freny

_ Deliberde rndierence +o his sutety °

13.) As o result of the Defendants Failure 5 Pladintif

eceived senous Physical injuries ond. Emotiona! Injury ES e
B: Deliberede Indifference to. Medical Needs
- WH.) The failure of Defendants 40 take Steps te Ensure thet

PialnhE peceived the needed. treadmentj despite their
Knowledge of Plainhifls serious Medical Meecls

 

 

WS

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constituted Deliberate Indi fersace do Plodn Hees SENOUS
Medical Needs.

Vs.) As ow tesult oF Defendants fojlure to provide neécled!
Medical +reatment, Plaintifh suffered further injury
and Physical and Emotion) pain and injury o

. ne.) Pleinh&F Requesté) the Courh recognize Plaga tthe ys
& pre-sé with no jégal Frain ing / Educection, ond
Ves the Court grant Plagne hE a Liberal Construcment
of the COMPLAINT; Thank wu,

LI) Plaintt alleaes permenant Physical uct emofioner| oe
Tryuries,

 

YG

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END

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Complaint —

7)
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Cc. JURISDICTION

A Iam suing for a violation of federal law under 28 U.S.C. § 1331.
OR

[ | Iam suing under state law. The state citizenship of the plaintiff(s) is (are)
different from the state citizenship of every defendant, and the amount of
money at stake in this case (not counting interest and costs) is

$
D. RELIEF WANTED

Describe what you want the Court to do if you win your lawsuit. Examples may
include an award of money or an order telling defendants to do something or to
stop doing something.

e Declare thed Defendants violated Plainhts Eighth Amendmentrights when thee lecd.
+0 Protect hie Fromasubstanhal risk of serigus hewn to his safes
B sDeclore Yt Delerdanks violobed Plainh flys Eighth Araeadrnesch rohtte Medtec! cane.
e aTerminate Defendants Employability eth i Doe- permonant
0 « Stricker PENALTY for violating BWC. rules and fegqulahoac/ folicanc,
£ a Surprise inves: Hgedtons for the rreatment-oP wopoe Qc RNQ Read Kini makes,
and ssa) osith Mhe invesligeHars done by Third - Peake oversight;
Fawooe Wer Riu CELLS BE MANDATORY NPREGURE WASHED inside call,
wall, celliag , duors, Floor, and This is te be ComPneTED BEFORE AND AFTER.
EVERY INMATE 1S HOuscD IN THESE CELLS
6 e MANDATORY BWC of cell inspector prior: te nnnecte placomond titra,
Ae Aword compensecto damages for Plainly phy sie and-emotional injuries,
and puniHve damages ogainst each Defendant + ancl
Le Growd Plank FP such of other nee as iF ™ appear hee entitled 6.

 

 

 

 

 

 

 
 

 
   

 

a oD Oe DBAS. oe
"Ps yChicloat Ce
Mental Awan

hegbes PA
severathy cease chew betes Bon’.
Lia Plary ee eon tin, CNR Me Cenwrenay as, De Ciwacued Sc paraty, -

 

 

Complaint — (48)
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E, JURY DEMAND

I want a jury to hear my case.

{ves [_]-No

I declare under penalty of perjury that the foregoing is true and correct.
Complaint signed this 19 +h day of Augu st 20 al.
Respectfully Submitted,

Signature of Plaintiff
564394

Plaintiff's Prisoner ID Number
Po. BOX FOO

STURTEVANT, WE 53177
(Mailing Address of Plaintiff)

(If more than one plaintiff, use another piece of paper.)

REQUEST TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING THE
FULL FILING FEE

Mw IDO request that I be allowed to file this complaint without paying the filing fee.
I have completed a Request to Proceed in District Court without Prepaying the
Full Filing Fee form and have attached it to the complaint.

[| IDO NOT request that I be allowed to file this complaint without prepaying the
filing fee under 28 U.S.C. § 1915, and I have included the full filing fee with this
complaint.

Complaint — 49)
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